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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

THE LABORERS’ DISTRICT COUNCIL
CONSTRUCTION INDUSTRY PENSION
FUND
1361 Ridge Ave.,
Philadelphia, PA 19123

and
THE LABORERS’ DISTRICT COUNCIL
BLDG. AND CONSTRUCTION HEALTH AND
WELFARE FUND '
211 North 13“‘ St., 6“‘ F1.,
Philadelphia, PA 19107

and :
THE LABORERS’ DISTRICT COUNCIL : CIVIL ACTION NO.:
EDUCATION AND TRAINING FUND '
1361 Ridge Ave.,
Philadelphia, PA 19123

and
THE LABORERS’ DISTRICT COUNCIL
PREPAID LEGAL PLAN
661 North Broad St.,
Philadelphia, PA 19123

and
THE LABORERS’ DISTRICT COUNCIL OF
THE METROPOLITAN AREA OF
PHILADELPHIA AND VICINITY LABORERS’
INTERNATIONAL UNION OF NORTH
AMERICA, RYAN BOYER AS TRUSTEE AD
LITEM
665 North Broad St.,
Philadelphia, PA 19123

and
THE LABORERS’ - EMPLOYERS’
COOPERATION AND EDUCATION TRUST
1500 Walnut St., Ste. 1304,
Philadelphia, PA 19103

and
LABORERS’ DISTRICT COUNCIL LOCAL
REGIONAL, AND STATE HEALTH AND
SAFETY BENEFIT FUND
1500 Walnut St., Ste. 1304,
Philadelphia, PA 19103

and

 

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GENERAL BUILDING CONTRACTORS

 

ASSOCIATION
36 s. 18“1 sr.,
Philadelphia, PA
Plaintiffs
vs.
JOSEPH PILEGGI, INC.
3775 Bristol Road
Doylestown, PA. 18901
Defendant
_C_(_)MPLAINT
I. Jurisdiction and VQIM:
1. This Court has jurisdiction over the subject matter of this action pursuant to 29
U.S.C. §§ 185(a), 1132 and 1145.
2. A copy of this Complaint has been served upon the Secretary of Labor and the

Secretary of the Treasury of the United States by Certif`ied Mail.

3. This Court is one of proper venue pursuant to 29 U.S.C. §§ 185(a) or 1132(e).
II. PLties

4. Plaintiff, the Laborers’ District Council Construction Industry Pension Fund
(hereinafter referred to as “Pension Fund”) is a trust fund established and maintained pursuant to
Section 302(c) of the LMRA, 29 U.S.C. § 186(c)(5), and is an employee benefit plan established
and maintained pursuant to §§ 3(1) and (3) of ERISA, 29 U.S.C. §§1002(1) and (3), Which is
maintained for the purpose of providing pension retirement benefits to eligible participants The
Pension Fund qualifies to commence this action under §502(d)(1) of ERISA, 29 U.S.C.

§1132(D)(1).

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5. Plaintiff, Laborers’ District Council Building and Construction Health and
Welfare Fund (hereinafter referred to as “Building & Construction Health and Welfare Fund”),
is a trust fund established and maintained pursuant to §302(0)(5) of the LMRA, 29 U.S.C.
§186(0)(5), and is an employee benefit plan established and maintained pursuant to §§3(1) and
(3) of ERISA, 29 U.S.C. §§1002(1) and (3), Which is maintained for the purpose of providing
health benefits and other welfare benefits to eligible participants The Health and Welfare Fund
qualifies to commence this action under §502(d)(l) of ERISA, 29 U.S.C. §1132(D)(1).

6. The Laborers’ District Council Education and Training Fund (hereinafter referred
to as “Training Fund”), is a trust fund established and maintained pursuant to §302(0)(5), of
LMRA, 29 U.S.C. §186(0)(5), and is an employee benefit plan established and maintained
pursuant to §§3(1) and (3) of ERISA, 29 U.S.C. §1132(d)(1).

7. The Laborers’ District Council Prepaid Legal Fund (hereinafter referred to as
“Legal Fund”), is a trust fund established and maintained pursuant to §§3(1) and (3) of ERISA,
29 U.S.C. §§1002(1) and (3), Which is maintained for the purpose of providing prepaid legal
benefits to eligible participants The Legal Fund qualifies to commence this action under
§502(d)(1)ofERISA, 29 U.S.C. §1132(d)(1).

8. Plaintiff, Laborers’ District Council of the Metropolitan Area of Philadelphia and
vicinity, Laborers’ International Union of North America (hereinafter referred to as the
“Union”), is an unincorporated labor organization engaged in representing employees for the
purpose of collective bargaining Ryan Boyer is Business Manager of the Union and is duly
authorized to serve as Trustee Ad Litem for the purpose of these proceedings.

9. Plaintiff, Laborers’ - Employers’ Cooperation and Education Trust (hereinafter

referred to as “LECET”), is a trust fund established and maintained pursuant to §§302(c)(5) of

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LMRA, 29 U.S.C. §186(c)(5), and is an employee benefit plan established and maintained
pursuant to §§3(1) and (3) of ERISA, 29 U.S.C. §l l32(d)(1).

10. Plaintiff Laborers’ District Council Local, Regional and State Health and Safety
Benefit Fund (hereinafter referred to as “Health and Safety Fund”), is a trust fund established and
maintained pursuant to §302(c)(5) of LMRA, 29 U.S.C. §186(0)(5) and is an employee benefit
plan established and maintained pursuant to §§3(1) and (3) of ERISA, 29 U.S.C. §§1002(1) and
(3), which is maintained for the purpose of providing health and other Welfare benefits to eligible
participants As such, the Health and Safety Fund is qualified to commence this action pursuant
to §§502(d)(1)0fERISA, 29 U.S.C. §l l32(d)(1).

11. Plaintiff, General Building Contractors Association (GBCA) is a non-profit
corporation representing employers in the commercial and institutional construction industry for
the purpose of collective bargaining

12. Defendant, Joseph Pileggi, Inc. (hereinafter referred to as “Pileggi”, “Employer”
or “Defendant”) is an employer in affecting commence Within the meaning of §§3(5), (11), and
(12) of ERISA, 29 U.S.C. §§1002(5), (11) and (12) and Sections (6) and (7) of the National
Labor Relations Act, as amended, 29 U.S.C. §152(2) (6) and (7) (hereinafter referred to as the
“N.L.R.A.”).

13. Defendant, Pileggi is a corporation authorized to conduct business in the
Commonwealth of Pennsylvania. Defendant maintains its place of business at 3755 Bristol
Road, Doylestown, PA. 18901.

III. Statement of the Claim
14. At all times relevant hereto, Defendant, Pileggi, and Plaintiff, Union have been

parties to a Collective Bargaining Agreement.

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15. The Defendant, Pileggi, also signed and/or agreed to abide by the terms of the
agreements and declarations of trust of the Plaintiff Funds, as from time to time amended (“Trust
Agreements”) made between certain employers and employee representatives in an industry(ies)
affecting interstate commerce to promote stable and peaceful labor relations

16. The Collective Bargaining Agreement contains provisions whereby Defendant,
Pileggi, was required to deduct designated amounts for Union working dues and PAC and make
designated contributions to the Laborers’ District Council Pension Fund, Health and Welfare
Fund, Education and Training Fund, Prepaid Legal Fund and Health and Safety Benefit Fund on
behalf of all employees covered by the Collective Bargaining Agreement and was required to
pay such amounts to the Union and Funds.

17. Under the Labor Contract or Trust Agreements, Defendant, PILEGGI, agreed:

a. to make full and timely payments on a monthly basis to the
Funds, Union and Industry Advancement Program as
required by the Labor contracts;

b. to file monthly remittance reports with the Funds detailing
all employees or work for which contributions were
required under the Labor Contract;

c. to produce upon request by the Funds, individually or
jointly, all books and records deemed necessary to conduct
an audit of the Company’s records concerning its
obligations to the Funds and Union; and

d. to pay liquidated damages and all costs of litigation,
including attorneys fees, expended by the Funds and Union
to collect any amounts due as a consequence of the
Company’s failure to comply with its contractual
obligations described in subparagraphs (a), (b), and (c)
above; and

e. to make payment of interest at the prime lending rate plus

two percent on all contributions paid to the Funds after the
date upon which they were due.

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18. Notwithstanding its obligation to do so, Defendant, Pileggi, has failed and refused
to make payments of benefit fund contributions and working dues as required by the collective
bargaining agreement

19. Under the terms of the Collective Bargaining Agreement, Defendant, Pileggi, is
contractually obligated to pay interest, audit fees, counsel fees and liquidated damages.

20. Based upon a compliance review of payroll records of Defendant, Pileggi, has
failed to remit benefit fund contributions corresponding to work performed between January 1,
2016, through March 31, 2017, in the amount of $21,581.53, interest calculated through August
17, 2017, in the amount of$l,107.20 and audit fee of$l,800.00 for a total sum of $24,488.73. A
copy of the audit report is attached as Exhibit “A.”

21. All delinquent contributions and interest payments herein have remained unpaid
for more than thirty (3 0) days beyond the date on which they were due pursuant to the terms of
the Collective Bargaining Agreement and Trust Agreements.

22. This action is brought by the fiduciaries of the above Funds pursuant to
§502(g)(2), 29 U.S.C. §1132(g)(2) to enforce §515 of ERISA, 29 U.S.C. §1145, pursuant to
which the Court is directed to award all unpaid contributions, interest and liquidated damages up
to or exceeding twenty percent, reasonable attorney’s fees, court costs and any other fees or
relief which the Court deems appropriate

23. Under the terms of the Collective Bargaining Agreement, Defendant, Pileggi, is
contractually obligated to pay interest, counsel fees and liquidated damages.

COUNT I - Breach of Contract - Unpaid Contributions
Plaintiffs v. Defendant

24. The allegations contained in paragraphs l through 23 are incorporated herein by

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reference as fully as though set forth at length.

25. Defendant owes the Funds and Union at least $24,488.73, representing unpaid
contributions, liquidated interest representing the known delinquencies as set forth in paragraph
20 above.

26. Defendant has not made payments to the Funds and Union as required by the
Labor Contract and/or Trust Agreements and as such, are in violation of §301 of the LMRA, 29
U.S.C. §185(a).

WHEREFORE, Plaintiffs ask that the Court:

1. Enter judgment in favor of the plaintiffs, and against the Defendant
in the amount of $24,488.73, for all unpaid contributions,
liquidated interest of plus interest to be calculated in accordance
with applicable law, and liquidated damages as demanded, plus
any additional amounts which are found to be due and owing
during the pendency of this litigation, interest audit fees, and
attorneys’ fees incurred in this action or in the collection and
enforcement of any judgment, as provided by the Labor Contract
and/or Trust Agreements.

2. Grant such other or further relief, legal and equitable as may be
just, necessary or appropriate

COUNT II - ERISA - Unpaid Contributions

Fund Plaintiffs v. Defendant

 

27. The allegations contained in paragraphs 1 through 26 above are incorporated
herein by reference as fully as though set forth at length.

28. Defendant has failed to make payment of contributions in violation of 29 U.S.C.
§1145,

29. The Funds have been damaged by Defendant’s violation of 29 U.S.C. §1145.

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WHEREFORE, Plaintiffs ask that the Court:

1. Enter judgment against the Defendant and in favor of` the Funds for
all unpaid contributions, liquidated interest in the amount of
$24,488.73 plus any additional amounts which are found to be
owing during the pendency of this litigation, interest and costs and
attorneys’ fees incurred in this action or in the collection or
enforcement of any judgment, as provided in the Labor Contract or
Trust Agreements or any amounts which are found to be due and
owing during the pendency of this litigation, together with interest
at the rate prescribed in 26 U.S.C. §6621, liquidated damages equal
to the greater of the interest on the unpaid contributions or
liquidated damages provided by the documents governing the
Funds or statute and reasonable attorneys’ fees and costs incurred
in this action or the collection or enforcement of any judgment.

2. Grant such other or further relief, legal or equitable as may be just,
necessary or appropriate

COUNT III - Audit/Accounting
Plaintiffs v. Defenm

30. The allegations of paragraphs 1 through 29 are incorporated herein by reference
as if fully restated

31. The amount of contributions Defendant is required to pay to the Funds and Union
is based upon hours worked and wages paid to the employees performing work covered by the
Labor Contract.

32. The plaintiffs are without sufficient information or knowledge to plead the precise
nature, extent and amount of the Defendant, PILEGGI, Inc.’s delinquency for the period January
l, 2014, through and including the present, since the books, records and information necessary to
determine such liability are in the exclusive possession, custody, control and knowledge of the
Defendant.

33. Plaintiffs do not have sufficient information at the present time to calculate the

amount of any deficiency from April 1, 2017, through the present.

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34. Defendant is required by the Labor Contract, Trust Agreements and/or applicable
law to permit the Funds to audit its records and to cooperate with the Funds in determining the
amount of contributions due.

35. Plaintiffs have no adequate remedy at law for the calculation of damages suffered
from April l, 2017, through and including the present as a result of Defendant’s breach of its
obligations and therefore require an audit.

36. Accordingly, in addition to seeking an audit to determine contributions owed the
Funds; plaintiffs seek access to payroll withholding records from April 1, 2017, through the
present to determine the amount of benefit fund contributions owed.

37. All conditions precedent to equitable relief have been satisfied.

WHEREFORE, the Funds and Union plaintiffs ask that the Court:

(1) Enjoin the Defendant, Joseph Pileggi, Inc., its officers,
agents, servants, employees, attorneys and all others in
active concert or participation with them to permit an audit
of all records from April l, 2017, through the present under
the actual or constructive control of the Defendant; and in
the absence of records, to cooperate in alternative methods
for the determination of work for which contributions are

due; and

(2) Grant such other and further relief, legal or
equitable as may be just, necessary or appropriate

COUNT IV - Contributions Under Contract Af`ter Audit
All Plaintiffs v. Defendant
38. The allegations of paragraphs l through 37 are incorporated by reference as if
fully restated.
39. Defendant has failed to make contributions to the Funds and Union as required by

the Labor Contract or Trust Agreements.

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40. Plaintiffs have been damaged by the failure of Defendant to make contributions as

required by its Labor Contract or Trust Agreements.
WHEREFORE, Plaintiffs ask that the Court:

(1) After an audit, enter judgment against the Defendant and in
favor of the plaintiffs individually for the amount of
contributions found due and owing by an audit, together
with liquidated damages, interest and costs, including
reasonable audit fees and attomey’s fees incurred in this
action or in the collection and enforcement of any
judgment, as provided in the Labor Contract or Trust
Agreements; and

(2) Grant such other relief, legal or equitable, as may be
just, necessary or appropriate

COUNT V - Contributions Under ERISA, After Audit

Fund Plaintiffs v. Defendant

 

41. The allegations of paragraphs 1 through 40 are incorporated by reference as if
fully restated.

42. On information and belief, Defendant has failed to make contributions to the
Funds in violation of 29 U.S.C. §1145.

43. The plaintiffs are without sufficient information or knowledge to plead the precise
nature, extent and amount of the Defendant’s delinquency for the period April 1, 2017, through
the present, since the books, records and information necessary to determine this liability are
within the possession, control and knowledge of the Defendant,

44. On information and belief, the plaintiff Funds have been damaged by defendant’s
violation of29 U.S.C. §1145.

WHEREFORE, Plaintiffs ask that this Court:

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(1) After an audit, enter judgment against the Defendant and in
favor of the plaintiff Funds individually for the
contributions found due and owing by the audit, together
with interest at the rate prescribed in 26 U.S.C. §6621 from
the due date of the payment until the date of the actual
payment, liquidated damages equal to the greater of the
interest on the unpaid contributions or liquidated damages
provided by the Plan document or statute and reasonable
audit fees and attorneys’ fees and costs incurred in
connection with any proceedings to enforce or collect any
judgment; and

(2) Grant such other or further relief, legal or equitable, as may
be just, necessary or appropriate

By:f iam -. Sein

Nancy L. (§f)ldstein
I.D. No. 40019

HAMBURG & GOLDEN, P.C.

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Date: August 23, 2018 Attorney for Plaintiffs

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CERTIFEATE_ _OF SERYI_C_E.
Nancy L. Goldstein, Esquire, hereby certifies that a true and correct copy of the foregoing
Complaint has been served as required by §502(h) of the Employment Retirement Income

Security Act of 1974, 29 U.S.C. §1132(h) on the date listed herein, upon the following:

VIA CERTIFIED MAIL:
Secretary of the Treasury
Internal Revenue Service

11 1 1 Constitution Avenue, NW
Washington, D.C. 20224

Attn. T:EP

and

VIA EMAIL:

Plan Benefits Security Division

ATTN: Tim Hauser, Division Coordinator
U.S. Department of Labor

200 Constitution Avenue, N.W.

Room N461 l

Washington, DC 20010

  
   

By: /s/_ f’d§i;$§§ _____

NANCY . lOLDSTEIN

Date: August 23, 2018

